
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On or about March27,2004, claimantpurchased what he believed was a 1987 International dump truck from respondent for Four Thousand Dollars ($4,000.00) at a public auction under an “as-is” condition.
2. On or about March 27, 2004, claimant discovered said International dump truck was, in fact, a 1986 model year and not a 1987 model year based upon the issued Certificate of Title to the International dump truck.
3. On or about May 12, 2004, claimant filed a claim against respondent in the West Virginia Court of Claims seeking to recover monetary damages in the amount of Seven Thousand, One Hundred Seventy-Two Dollars ($7,172.00).
4. Claimant is currently in possession and he has used said 1986 International dump truck for over four (4) years.
5. The parties hereby agree that a discrepancy, or inaccuracy, existed relative to the model year of the International dump truck during presentation of said dump truck at the public auction and upon the bill of sale to claimant for the purchase of said dump truck both in relation to the issued Certificate of Title.
6. The parties also hereby agree that due to the discrepancy, or inaccuracy, in the description of said dump truck, respondent shall pay claimant the amount of Two Hundred and Fifty Dollars ($250.00) for a good faith settlement of all claims and demands of claimant in this matter and for the withdrawal and dismissal of this claim.
Based on the foregoing facts, the State of West Virginia, Department of Administration, Purchasing Division/Surplus Property has a moral obligation to issue payment to claimant in the amount of Two Hundred and Fifty Dollars ($250.00) from Fund #2281 Surplus Property Special Revenue Account.
The Court concludes that $250.00 is a fair and reasonable settlement of this claim.
Award of $250.00.
